AFFIDAVIT

STATE OF MISSISSIPPI

COUNTY OF JACKSON

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l, Ronald W. Schnoor, being duly sworn, deposes and says:

l am the Chjef Operating Ol`.ficer, for Signal lnternational, LLC (“Signal”), in
Pascagoula, Mississippi and Orange, Texas.

This affidavit is based on my personal knowledge l am a resident of Jackson
County, l am over 21 years of age and lam competent to make this affidavit

As a result of my position at Signal, as Chief Operating Of'ficer, l am qualified to
make the following assertions regarding Signal’s confidential financial
infonnation, which Signal considers its trade secrets.

Signal is a private corporation; Signal’s trade secrets are not public information
Signal’s financial infonnation, i.e._. its trade secrets1 are a combination of
economic analysis and strategic planning to ensure an economic advantage in the
thlf Coast’s marine and fabrication industry.

Only Signal’s Of`ficers and Directors arc privy to Signal’s trade secrets.

Signal"s trade secrets that are memorialized on paper are maintained in secure file
cabinets in order to protect this information from unauthorized viewers.

Signal’s trade secrets are extremely valuable, as their development and use is
responsible i`or Signal’s financial success within the marine and fabrication
industry.

Signal’s trade secrets are a result of a concentrated research and development

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Signal has invested millions of dollars in the development of its trade secrets
Signal’s trade secrets are held closely and are not, nor have they ever been, for
sale.

The marine and fabrication industry is a highly competitive industry on the Gulf
Coast.

Competition in the marine and fabrication industry calls for innovative economic
techniques and strategies; Signal’s trade secrets enable it to compete within the
industry.

lt` competitors were to learn Signal’s trade secrets, they could easily interfere with
Signal’s ongoing business operations

lt` competitors were to learn Signal`s forecasts for future production, they could
easily adjust their production targets to frustrate Signal’s plans.

lt` competitors were to learn Sig;nal"s marketing plans it would be detrimental to
Signal, for it would Signal’s competitors unfair advantage in negotiating
contracts

If competitors Were to learn Signal’s competitive prices, they could adjust their
prices accordingly in order to undercut Signal’s prices and harm its sales.

If competitors were to learn Signal’s costs, they would know the outer limits at
Which Signal could no longer compete, and force Signal into financial ruin.

It` competitors were to learn Signa]’s competitive prices, costs, and the identity of
Signals suppliers and certain customers, they could easily manipulate the market

and drive Signal out of business, e.g., by targeting and soliciting Signal’s

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suppliers and certain customers, and offering more money to suppliers and lower
prices to customersl

20. Signal’s trade secrets have taken years to develop, and as such, it would take a
competitor years of trial and error, and a considerable financial investinth to
develop similar information

21. ff competitors were allowed access to Signal’s trade secrets, they could easily
bypass these developmental steps, thus gaining an unfair advantage by nee-riding

off of Signal’s trade secrets, thus causing harm to Signal’s competitive stance.

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RONALI) W. SCHNOOR
CHIEF OPERATING OFFICER
SIGNAL [NTERNATIONAL

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